        Case 4:05-cr-00266-BLW Document 50 Filed 06/02/06 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,      )
                               )              Case No. CR-02-266-E-BLW
           Plaintiff,          )
                               )              MEMORANDUM DECISION
      v.                       )              AND ORDER
                               )
JOHN THOMAS HOREJS, and        )
ELAINE SHERYL HOREJS,          )
                               )
           Defendants.         )
 ______________________________)

                                INTRODUCTION

      The Court has before it defendants’ motion to continue the trial in this case,

now set for July 17, 2006. Defendants request that the trial be moved to sometime

after September 15, 2006. The Court held a telephone conference with all counsel

and the defendants on June 1, 2006, and took the motion under advisement. For

the reasons expressed below, the Court will deny the motion.

                                    ANALYSIS

      The indictment in this case was filed December 13, 2005, and contains six

counts. Count One charges that the defendant obstructed the IRS, alleging that,

among other things, the defendants filed false and fraudulent tax returns. Counts

Two through Six allege that the defendants failed to file tax returns for the years
Memorandum Decision and Order - Page 1
        Case 4:05-cr-00266-BLW Document 50 Filed 06/02/06 Page 2 of 4




1998 through 2002, respectively.

      The defendants were arraigned on January 25, 2006, and informed the Court

that they would represent themselves. Trial was set for March 27, 2006. At a

Faretta hearing held on March 9, 2005, the defendants agreed that they do need

counsel, and thus Steven Richert was appointed to represent Elaine Horejs and

Scott McKay was appointed to represent John Horejs.

      On March 14, 2006, defendant John Horejs moved for a continuance. His

counsel Scott McKay filed an affidavit stating that he had just received 10,000

documents from the Government, and could not be ready for trial in two weeks.

He requested a continuance until July 17, 2006.

      The Court granted that motion and trial was continued to July 17, 2006. On

May 23, 2006, defendants filed their second motion for a continuance, seeking a

continuance until sometime after September 15, 2006.

      The first ground set forth in the affidavit of counsel for John Horejs is that

he has received 10,000 pages of financial records from the Government. While

this is a large amount of material, defense counsel used this ground to obtain the

first continuance. By the time of trial, he will have had four months to review the

documents. Thus, these 10,000 documents do not warrant a new trial date.

      Defense counsel also asserts that he received 150 pages of additional


Memorandum Decision and Order - Page 2
        Case 4:05-cr-00266-BLW Document 50 Filed 06/02/06 Page 3 of 4




discovery “consisting of Jenks Act material, Memoranda of Interviews prepared by

the Internal Revenue Service and grand jury transcripts from this case.” Of course,

the Government was not required to provide the Jenks Act material prior to trial,

and there is no authority cited that would allow defendants to take advantage of the

Government’s accomodation to them. Taking out the Jenks material, the other

material is not voluminous enough to warrant a continuance.

      Defense counsel also states that the Government “still intends to produce to

defense counsel cassette tapes containing recorded statements made by Mr. and

Mrs. Horejs and to identify and provide the required disclosures concerning an

expert witness that it intends to call at trial.” On May 25, 2006, the Government

provided notice of a summary expert, and detailed the nature of her expected

testimony. The defense has almost two months to prepare for this witness, and

hence this cannot justify a continuance. With regard to the cassette tapes, the

Government expected to provide them by late May or early June, and they merely

consist of the defendants’ own phone messages.

      Finally, defense counsel states that the volume of this discovery combined

with the complex nature of the charges and their long time-frame, justify a

continuance. The charges are not complex, however, and the discovery, as

explained above, is not voluminous. The justifications cited by counsel do not


Memorandum Decision and Order - Page 3
        Case 4:05-cr-00266-BLW Document 50 Filed 06/02/06 Page 4 of 4



support a trial continuance.

      Certainly the Court may consider a renewed motion to continue if the

Government provides further discovery not yet identified to the defendants

between now and the trial date. Moreover, defense counsel are hereby notified that

the Court will liberally authorize the payment of CJA funds to retain investigators,

forensic accountants and other experts reasonably necessary to assist defense

counsel in their interviewing of witnesses, review of documents, and general trial

preparation.

                                     ORDER

      In accordance with the terms of the Memorandum Decision set forth above,

      NOW THEREFORE IT IS HEREBY ORDERED, that the motion to vacate

and reschedule trial and pretrial conference (Docket No. 46) is DENIED.

                                DATED: June 2, 2006



                                B. LYNN WINMILL
                                Chief Judge
                                United States District Court




Memorandum Decision and Order - Page 4
